        Case 1:21-cv-00751-DAE      Document 247   Filed 11/08/24   Page 1 of 3




                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.              §
SECURITIES LITIGATION                     § Master File No. 1:21-cv-00751-DAE
                                          §
                                          § CLASS ACTION
This Document Relates To:                 §
                                          §
         ALL ACTIONS                      §
                                          §
                                          §


                    LEAD PLAINTIFF’S UNOPPOSED MOTION TO WITHDRAW
                         RACHEL L. JENSEN AS COUNSEL OF RECORD




4863-3491-8644.v1
        Case 1:21-cv-00751-DAE           Document 247        Filed 11/08/24      Page 2 of 3




         In accordance with W.D. Local Rule AT-3, Rachel L. Jensen, the undersigned counsel of

record for Lead Plaintiff Mohammad Bozorgi and additional plaintiffs Ken Calderone and

Manohar K. Rao (collectively, “Plaintiffs”), respectfully seeks to withdraw because she has been

appointed to serve as a San Diego Superior Court Judge.

         Robbins Geller Rudman & Dowd LLP will continue to represent Plaintiffs. Defendants do

not oppose this motion.

         Ms. Jensen also requests removal from the service list and notifications in this case.

DATED: November 8, 2024                        Respectfully submitted,

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                                                                s/ Rachel L. Jensen
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4863-3491-8644.v1
        Case 1:21-cv-00751-DAE   Document 247     Filed 11/08/24    Page 3 of 3




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4863-3491-8644.v1
